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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


VINCENT TUZZOLINO

Plaintiffs,

                                                               CIVIL ACTION
                                                               FILE NO.:

v.

RETRIEVAL MASTERS CREDITORS
BUREAU, INC

     Defendant.

_______________________/


                                                COMPLAINT

Plaintiff brings this action against Defendant, on the grounds and the amounts set forth herein.

                                    I. PRELIMINARY STATEMENT

         This action arises out of the facts and circumstances surrounding phone calls and unlawful

contact made by Defendant (who used an ATDS or “auto dialer”) to call the Plaintiff’s cell phone, against

the wishes and directives of Plaintiff and in a manner contrary to both state and federal law.

Plaintiff, an individual and consumer, institutes this action for actual and statutory damages against the

defendant and the costs of this action against Defendant, who is a debt collector, for violations of the

Telephone Consumer Protection Act (hereinafter “TCPA”) 47 U.S.C. 227 et seq.

         Plaintiff alleges that Defendant called Plaintiff’s cell phone repeatedly, with the use of an

automated telephone dialing system in the four years prior to the institution of the original action, without

the express consent of Plaintiff. Plaintiff further alleges that Defendant continued to call Plaintiff’s cell

phone repeatedly, with an automated telephonic dialing system without Plaintiff’s consent and against

Plaintiff’s instructions to the contrary despite the fact that Defendant was aware of Plaintiff’s cease and

desist instructions, including those given on January 19, 2015. Defendant would leave automated
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messages on Plaintiff’s phone and Plaintiff would hear clicks and significant delays if the call connected,

all of which evidence the use or potential use of an automated dialer.

        In addition, Plaintiff seeks to recover for statutory damages under 15 U.S.C. 1601 et. seq. and

Chapter 559.72(7)of the Florida Statutes, because Defendant continued to contact Plaintiff (including

contacting Plaintiff’s cell phone with an automated telephonic dialing system)and said contact on the part

of Defendant was also contrary to Plaintiff’s cease and desist instructions as Defendant knew that Plaintiff

instructed Defendant to stop calling Plaintiff’s cell phone, yet Defendant chose to contact Plaintiff

without regard to Plaintiff’s lawful rights, with an intent to annoy and harass Plaintiff. In fact, Defendant

continued to call Plaintiff’s phone(s), including cell phone(s), with even after Plaintiff specifically told

Defendant to stop calling and also even after Plaintiff put his cease and desist instructions in writing to

Defendant and even after Defendant was on actual notice that Plaintiff did not wish to receive any more

calls, including automated calls from Defendant.



                                                II. PARTIES

1. Plaintiff is a natural person and consumer residing in Hillsborough County, Florida.

2. Defendant is a foreign for profit corporation, accountable under the TCPA, 15 U.S.C. 1601, et. seq. as

well as Chapter 559 of the Florida Statutes and Defendant is a debt collector.

3. Defendant, a self described “debt collector”, was attempting to collect an alleged but unsubstantiated

consumer debt against Plaintiff, which gives rise to this action.



                                    III. JURISDICTION AND VENUE

4. Jurisdiction is conferred on this Court by 28 U.S.C. 1331.

5. Venue is this District is proper in that the Defendant transacts business here and the conduct of

underlying the complaint occurred in Hillsborough County, Florida, which falls under the jurisdiction of

the Tampa Division of the Middle District Court.
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        IV. STATUTORY STRUCTURE OF THE TCPA, 15 U.S.C. 1601 and Chapter 559 of

                                             the Florida Statutes

6. The Telephone Consumer Protection Act, 47 U.S.C. 227 (“TCPA”) amended the Federal

Communications Act 47 U.S.C. 151, et seq. (“FCA”) to address the uses of automatic telephone dialing

systems, artificial or prerecorded voice messages, SMS text messages reviewed by cell phones, and the

use of fax machines to send unsolicited advertisements. Likewise, 15 U.S.C. 1601 and Chapter 559 of the

Florida Statutes are designed to protect consumers from unwanted harassment at the hands of debt

collectors and Defendant is not exempt from 15 U.S.C. 1601 and Chapter 559 of the Florida Statutes.

7. Under the TCPA “automatic telephone dialing system” (hereinafter “ATDS”) means equipment which

has the capacity-

(A)     to store or produce telephone numbers to be called, using a random or sequential number

generator; and

(B)     to dial such numbers.

See, 47 U.S.C. 227 (a)(1).

8. Under the TCPA, it is unlawful to make any call (other than a call made for emergency purposes or

made with the prior express consent of the called party) using any automatic telephone dialing system or

an artificial or prerecorded voice message to any telephone number assigned to a paging service, cellular

telephone service, specialized mobile radio service, or other radio common carrier service, or any service

for which the called party is charged for the call.

9. Under the TCPA, a person or entity may, if otherwise permitted by the laws of the rules of the court of

a State, bring in an appropriate court of that State:

(A)     an action based on a violation of this subsection or the regulations prescribed under this

subsection to enjoin such violation,

(B)     an action to recover for actual monetary loss from such a violation, or to receive $500 in damages

for each such violation, whichever is greater, or
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(C)     both such actions.

If the court finds that the defendant willfully or knowingly violated this subsection or the regulations

prescribed under this subsection, the court may, in its discretion, increase the amount of the award to an

amount equal to not more than 3 times the amount available under subparagraph (B) of this paragraph. 47

U.S.C. 227 (b)(3).

                                     V. FACTUAL ALLEGATIONS

10. During the 48 months prior to the filing of the original complaint, Defendant called Plaintiff’s

cellular telephone without Plaintiff’s express consent using an automated telephone dialing system to

make the offending calls to Plaintiff’s cell phone which ends in 4387.

11. Plaintiff is the “sole subscriber, owner, possessor, and operator of” her cellular telephone.

12. During the 48 months prior to filing the instant action, Plaintiff received multiple and repeated calls

from Defendant, who used an automated dialing system to call Plaintiff’s cell phone repeatedly, even

after Defendant was instructed to stop calling Plaintiff. Each call Defendant made to Plaintiff’s cellular

phone was done so without the “express permission” of Plaintiff. If, assuming arguendo, Defendant ever

had Plaintiff’s permission to call his cell phone, such permission was revoked by his notice to Plaintiff to

cease and desist contacting him.

13. None of Defendant’s telephone calls placed to Plaintiff were for “emergency purposes” as specified in

47 U.S.C. §227(b)(1)(A).

14. Upon information and belief, the telephone calls were placed by Defendant to Plaintiff’s cellular

telephone using automated telephone dialing equipment, without human intervention, which was evident

by not only the “clicks” and prolonged delays but also by Defendant’s use of automated messages on

Plaintiff’s cell phone.

15. Accordingly, upon information and belief, each call Defendant made to Plaintiff was made using an

“automatic telephone dialing system” that has the capacity to store or produce telephone numbers to be

called, using a random or sequential number generator; and to dial such numbers as specified by 47

U.S.C. §227(a)(1).
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16. Defendant has a corporate policy to use an automatic telephone dialing system or a pre-recorded or

artificial voice, just as they did to Plaintiff’s cellular telephone in this case, with no way for the consumer

or Defendant to remove the incorrect number.

17. Defendant’s corporate policy and procedures provided no means for Plaintiff to have his cellular

telephone number removed from the call list.

18. Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff. Further, Defendant

keeps call logs and account notes that detail with particularity the calls Defendant made to Plaintiff, yet as

of this date, Defendant has failed, refused and/or neglected to provide this documentation and Defendant

has ready access to this documentation.

19. Defendant’s calls to Plaintiff’s cell phone using an automatic dialing system intentionally and

repeatedly, without express permission, were in total disregard of Plaintiff’s lawful rights under the

TCPA and well as Chapter 559 of the Florida Statutes and 15 U.S.C. 1601.

                                          VI. TCPA VIOLATIONS

20. Plaintiff repeats, re-alleges, and incorporates by reference paragraphs one through nineteen. The

Defendant’s violations of the TCPA include, but are not limited to, the following:

21. The actions of the Defendant individually and collectively violated the TCPA by way of Defendant

using automated telephonic dialing systems to call Plaintiff’s cell phone without Plaintiff’s express

consent.

22. By the Defendant calling the Plaintiff’s phone without express consent and in direct violation of

Plaintiff’s instructions and by Defendant using an automated telephone dialing system to make the

offending calls, even after Plaintiff requested that Defendant no longer contact his via cell phone,

Defendant violated the TCPA. 47 U.S.C. 227.

23. By the Defendant calling the Plaintiff’s phone without consent and expressly against the directive

that Plaintiff issued to Defendant, Defendant violated the TCPA. 47 U.S.C. 227.

                                 VII. Violations of 15 U.S.C. 1601 et. seq.

24. Plaintiff re-alleged and incorporated paragraphs above set forth above.
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25. These same complained of actions (as alleged above, including but not limited to paragraphs 1 to 15)

on the part of Defendant (repeated contact with Plaintiff after Defendant had actual knowledge of

Plaintiff’s cease and desist) constitutes a violation of the Fair Debt Collection Practices Act, 15 U.S.C.

1601 generally, and 15 U.S.C. 1692(c), 15 U.S..C. 1692 (d) and is further liable for attorney fees and

costs under 15 U.S.C. 1692(k), because Defendant continued to contact Plaintiff after being advised that

such contact was against Plaintiff’s the wishes and directives of Plaintiff, in a manner designed to harass

or annoy Plaintiff and to disregard the lawful rights of Plaintiff by calling Plaintiff’s phone and causing it

to ring repeatedly with the intent to harass and/or annoy Plaintiff.

26. Indeed, Plaintiff advised Defendant to stop calling Plaintiff’s cell phone and that Plaintiff did not

wish to receive any more calls or even written contact from Defendant, yet Plaintiff continued to be

contacted by Defendant (post cease and desist instruction), who intended to harass and or annoy Plaintiff

and by disregarding the rights of Plaintiff under the law, and continuing to contact Plaintiff in regards to

an alleged consumer debt and causing Plaintiff’s phone to ring repeatedly.

                         VIII. Violations of Chapter 559 of the Florida Statutes.

27. Plaintiff re-alleges and re-incorporates paragraphs above.

28. Again, Plaintiff advised Defendant during the course of Defendant’s contact with Plaintiff that

Plaintiff no longer wanted Defendant to contact him and that Plaintiff did not want to receive any more

calls from Defendant.

29. Defendant ignored Plaintiff’s request and cease and desist instructions which were given to

Defendant and Defendant continued to contact Plaintiff (post cease and desist instruction), in disregard of

Plaintiff’s rights.

30. Defendant’s conduct and disregard of Plaintiff’s rights and Defendant’s decision to continue

contacting Plaintiff after being advised not to do so, constituted and intentional disregard for Plaintiff

rights under Florida law, including Chapter 559.72(7)of the Florida Statutes.

                                              Prayer for Relief

WHEREFORE, Plaintiff prays that judgment be entered against the Defendant for the following:
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(1)            Statutory damages pursuant to TCPA 47 U.S.C. 227 (b)(3);

(2)            Statutory damages pursuant to TCPA 47 U.S.C. 227 (d)(3); and under 15 U.S.C. 1601 as

well as Chapter 559.77 of the Florida Statutes;

(3)            Fair and reasonable costs of this action, court costs and attorney’s fees, where provided for

by law;

(4)            Such other and further relief that the Court deems just and proper.




                                                                                       s/ W. John Gadd
                                                                                          W. John Gadd
                                                                                 FL Bar Number 463061
                                                                               Bank of America Building
                                                                           2727 Ulmerton Road-Suite 250
                                                                                   Clearwater, FL 33762
                                                                                    Tel- (727) 524-6300
                                                                              Email- wjg@mazgadd.com
